               Case 6:22-bk-04313-GER          Doc 3     Filed 12/05/22      Page 1 of 9




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

In re:                                                   CASE NO.: 6:22-bk-04313

BERTUCCI’S RESTAURANTS, LLC,                             CHAPTER 11

                Debtor.
                                               /

                      CHAPTER 11 CASE MANAGEMENT SUMMARY

         BERTUCCI’S RESTAURANTS, LLC, (“Bertucci’s” or “Debtor”), a Florida limited

liability company, by and through their undersigned counsel, and pursuant to Administrative Order

FLMB 2009-1, file this Chapter 11 Case Management Summary, and state as follows:

         I.     Description of Debtor’s Business

         1.    On December 5, 2022 (the “Petition Date”), Debtor filed its voluntary petition for relief

under chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”) with the United

States Bankruptcy Court for the Middle District of Florida, Orlando Division. No trustee has been

appointed and Debtor continues to manage and operate its business as a debtor-in-possession

pursuant to sections 1107 and 1108 of the Bankruptcy Code.

         2.    The Debtor is a Florida limited liability company that was formed in May of 2018.

Debtor owns and operates approximately forty-seven (47) Italian-themed restaurants in nine (9)

states located in the North-East; however, the corporate offices are located at: 4700 Millenia Blvd.,

Suite 400, Orlando, Florida 32839.

         II.   Events Leading to and Reasons for Filing

         3.    The prior Bertucci’s Brick Oven Pizza & Pasta went into bankruptcy in April of 2018

in the United States Bankruptcy Court for the District of Delaware. The current Debtor entity was


                                                   1
             Case 6:22-bk-04313-GER          Doc 3     Filed 12/05/22       Page 2 of 9




created in May of 2018 when it acquired approximately fifty-six (56) restaurants under the name

Bertucci’s Brick Oven Pizza & Pasta (individually a “Restaurant”, collectively, the “Restaurants”),

in a transaction that closed on June 11, 2018, see the Order Approving Asset Purchase Agreement

entered in the previous bankruptcy case (Case No. 18-10894-MFW; Doc. No. 295).

       4.    The Restaurants are marketed toward the core casual dining market and, when acquired,

Bertucci’s operated approximately fifty-six (56) locations in nine (9) states nationwide reporting

annual sales of more than $120 million for 2019 with nearly 2,000 employees.

       5.    Unfortunately, due to Covid and the impact of inflation, sales declined and expenses

increased. Although based on audited financials, sales at fiscal year 2021 were $97.9 million, Debtor

suffered an operating loss of $14 million and a net loss of $7.2 million.

       III. Debtor’s Corporate Ownership

       6.    Debtor is owned entirely by Bertucci’s Holding, LLC. No officers or directors hold an

ownership interest in Debtor.

       IV.     Debtor’s Cash Management System

       7.      The Debtor maintains banking accounts at PNC Bank, Wells Fargo, and Bank of

America. Prior to the Petition Date, Debtor maintained a complex cash management system to

properly account for all monetary receipts and disbursements. Each Restaurant has a deposit account

where cash is collected and then transmitted to a central account at PNC. The central account

receives all credit card payments and makes all disbursements.

       V.      Amounts Owed to Various Classes of Creditors

       8.      As of the Petition Date, Debtor was indebted to various creditors as follows:

               Secured Lenders                Approximate Amount Owed (lien type)

               PHL Holdings, LLC              $8,500,000 revolving loan (first lien on all assets)



                                                 2
              Case 6:22-bk-04313-GER         Doc 3     Filed 12/05/22      Page 3 of 9




               PHL Holdings, LLC              $12,350,000 term loan (second lien on all assets)

       9.      Obligations owed to priority creditors such as governmental creditors for taxes.

               Bertucci’s believes it is current with respect to their federal tax obligations but may

have a combined State sales tax obligation owing to several states in the approximate amount of

$1,500,000.

       10.     Amount of unsecured claims. As of the Petition Date, Debtor was indebted to non-

disputed and non-insider unsecured creditors in the approximate amount of $26,500,000.

       VI.      General Description and Approximate Value of Debtor’s Current and Fixed
                Assets

       12.     As of September 25, 2022, Debtor’s assets, at book value, include approximately

$1,100,000 in food and beverage inventory, $800,000 in accounts receivable, and $7,000,000 in

furniture and restaurant equipment. Debtor’s total assets as of September 25, 2022, at book value,

totaled $23 million, but net worth is negative at almost $37 million.

       VII.     Number of Employees and Amount of Wages Owed as of the Petition Date

       13.     As of the Petition Date, Debtor employ approximately fourteen hundred thirty-six

(1436) hourly and salaried employees (the “Employees”). The Employees are paid bi-weekly, for

services performed during the prior two-week period. Contemporaneously with the filing of this

summary, Debtor is seeking to pay prepetition wages of approximately $300,000.00 which was paid

on December 2, 2022 but not all checks have cleared, and approximately $906,441.00 which is

scheduled to be funded on December 15, 2022. No single Employee is believed to be owed more

than the $12,850.00 limit set forth in 11 U.S.C. § 507(a)(4).

       VIII. Anticipated Emergency Relief to be Requested with 14 Days from the Petition

Date

       14.     Emergency Motion for Authority to Pay Pre-petition Wages;

                                                 3
      Case 6:22-bk-04313-GER      Doc 3   Filed 12/05/22    Page 4 of 9




15.    Emergency Motion to Maintain Bank Accounts;

16.    Emergency Motion to Reject Certain Leases; and

17.    Emergency Motion to Use Cash Collateral.

RESPECTFULLY SUBMITTED this 5th day of December 2022.

                                      /s/ R. Scott Shuker, Esq.
                                      R. Scott Shuker, Esq.
                                      Florida Bar No. 0984469
                                      rshuker@shukerdorris.com
                                      Mariane L. Dorris, Esq.
                                      Florida Bar No. 173665
                                      mdorris@shukerdorris.com
                                      SHUKER & DORRIS, P.A.
                                      121 S. Orange Ave., Suite 1120
                                      Orlando, Florida 32801
                                      Telephone: 407-337-2060
                                      Facsimile: 407-337-2050
                                      Attorneys for the Debtor




                                     4
            Case 6:22-bk-04313-GER          Doc 3    Filed 12/05/22    Page 5 of 9




                        UNITED STATES BANKRUPTCY COURT
                           MIDDLE DISTRICT OF FLORIDA
                                ORLANDO DIVISION
                                www.flmb.uscourts.gov

In re:                                               CASE NO.       6:22-bk-04313

BERTUCCI’S RESTAURANTS, LLC                          CHAPTER 11

              Debtor.
                                           /


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true copy of the forgoing CHAPTER 11 CASE
MANAGEMENT SUMMARY has been furnished either electronically or by facsimile and by U.S.
First Class, postage prepaid mail to: DEBTOR, BERTUCCI’S RESTAURANTS, LLC, 4700
Millenia Blvd., Suite 400, Orlando, FL 32836; PHL HOLDINGS, LLC, 4700 Millenia Blvd., Suite
400, Orlando, FL 32836; PB RESTAURANTS, LLC, 4700 Millenia Blvd., Suite 400, Orlando, FL
32836; all parties entitled to receive CM/ECF noticing; the twenty largest unsecured creditors as
shown on the matrix attached to the original of this summary filed with the Court; and the U.S.
TRUSTEE’S OFFICE, 400 W. Washington St., Ste. 1120, Orlando, FL 32801, this 5th day of
December 2022.

                                                /s/ R. Scott Shuker, Esq.
                                                R. Scott Shuker, Esq.




                                               5
                                  Case 6:22-bk-04313-GER       Doc 3         Filed 12/05/22    Page 6 of 9
Label Matrix for local noticing                Bertucci’s Restaurants, LLC                      153 W Hancock St Associates
113A-6                                         4700 Millenia Blvd., Ste. 400                    c/o Radhey Khanna
Case 6:22-bk-04313                             Orlando, FL 32839-6020                           80 Nashus Rd
Middle District of Florida                                                                      Londerry, NH 03053-3426
Orlando
Mon Dec 5 14:04:21 EST 2022
1775 Mass Ave, LLC                             523 Restaurant, L.P.                             629 Cross Keys Limited Liab.
c/o Concord Prop. Mgmt, Inc                    c/o Penn Real Est Group Inc                      1222 Jennifer Ln
1 Main Street                                  620 Righters Ferry Road                          Manahawkin, NJ 08050-4250
Concord, MA 01742-2514                         Bala Cynwyd, PA 19004-1347


805 Main St LLC                                AFA Protective Systems, Inc.                     Avon Marketplace Investors
c/o The Senne Company                          155 Michael Drive                                PO Box 783522, Lockbox #3522
One Lewis Wharf                                Syosset, NY 11791-5310                           Philadelphia, PA 19178-3522
Boston, MA 02110-3900


Bel Air South Commercial LLC                   Bertucci s Restaurants (BAL)                     Bertucci’s Holding, LLC
2700 Philadelphia Road                         1818 York Road                                   4700 Millenia Blvd., Ste. 400
Edgewood, MD 21040-1120                        Lutherville Timonium, MD 21093-5174              Orlando, FL 32839-6020



Bertucci’s Restaurants (B-A)                   Bertucci’s Restaurants (CO)                      Bertucci’s Restaurants (WM)
12 Bel Air S. Parkway                          9081 Snowden River Pkwy                          8130 Corporate Place
Bel Air, MD 21015-6038                         Columbia, MD 21046-1657                          Nottingham, MD 21236-6997



Best Petroleum LLC                             Buncrana                                         (p)C H ROBINSON WORLDWIDE INC
Country Manor Norwood Trust                    275 Mishawum Road                                ATTN BANKRUPTCY TEAM BILL GLAD
40 Grove St., Unit 430                         Woburn, MA 01801-8805                            14701 CHARLSON ROAD
Wellesley, MA 02482-7774                                                                        SUITE 2400
                                                                                                EDEN PRAIRIE MN 55347-5076

CIL Walkers LLC                                CSC                                              Canton R2G Owner LLC
c/o Bank of America, N.A.                      801 Adlai Stevenson Drive                        PO Box 411261
PO Box 105576                                  Springfield, IL 62703-4261                       Boston, MA 02241-1261
Atlanta, GA 30348-5576


Centercorp Swampscott Realty                   Christiana Town Center LLC                       Commerce Way Development
600 Loring Ave                                 PO Box 7189                                      11 Poppasquash Rd
Salem, MA 01970-4264                           Wilmington, DE 19803-0189                        Bristol, RI 02809-1001



Concord Retail Partners LP                     (p)CONNECTICUT DEPARTMENT OF REVENUE SERVICES    Corporate Service Company
Brandolini Property Mgmt                       ATTN COLLECTIONS UNIT - BANKRUPTCY TEAM          P.O. Box 2576
PO Box 4711                                    450 COLUMBUS BLVD STE 1                          Springfield, IL 62708-2576
Lancaster, PA 17604-4711                       HARTFORD CT 06103-1837


D&H 402A Pad Partnership TS                    Delaware Div of Revenue                          F.A Associates
c/o Caron & Bletzer                            PO Box 2340                                      T/A Concord Gallery
PO Box 969                                     Wilmington, DE 19899-2340                        PO Box 7189
Kingston, NH 03848-0969                                                                         Wilmington, DE 19803-0189
                                Case 6:22-bk-04313-GER       Doc 3         Filed 12/05/22   Page 7 of 9
Florida Department of Revenue                Framingham - 150 FR                             Frontier Dr Metro Center LP
Bankruptcy Unit                              Realty Limited Partnership                      Lockbox #283523
Post Office Box 6668                         1051 Reservoir Ave                              PO Box 713523
Tallahassee FL 32314-6668                    Cranston, RI 02910-5135                         Philadelphia, PA 19171-3523


Frontier Drive Metro Center                  Griswold Mall Associates                        Hing Wah Realty Trust
Lockbox #283523                              1000 Huntington Turnpike                        c/o Howard Lee, Trustee
PO Box 713523                                Bridgeport, CT 06610, CT 06610-1246             67 Beach St.
Philadelphia, PA 19171-3523                                                                  Boston, MA 02111-2130


Internal Revenue Service                     Internal Revenue Service                        Joseph Gaied
1160 W. 1200 S. Street                       Post Office Box 7346                            LMC Realty Trust
Ogden, UT 84201-0009                         Philadelphia PA 19101-7346                      PO Box 522
                                                                                             Ashland, MA 01721-0522


Knapp Foods Inc                              Lincoln Plaza Assoc                             M3 Real Estate Holdings, LLC
PO Box 396                                   PO Box 829424                                   c/o Veritas Real Estate Serv
Natick, MA 01760-0004                        Philadelphia, PA 19182-9424                     701 Route 73 North, Suite 4
                                                                                             Marlton, NJ 08053-3466


MEDFORD WELL                                 MNH Mall, LLC                                   MOBO Systems
P.O. BOX 961                                 Mall of New Hamphire                            285 Fulton St
WORCESTER, MA 01613-0961                     14184 Collections Center Dr                     Floor 82
                                             Chicago, IL 60693-0001                          New York, NY 10007-2915


Mall at Rockingham LLC                       Mall at Solomon Pond, LLC                       Marc Capital Corp
Mall at Rockingham Park                      14199 Collections Center Dr                     c/o Nancy Anderson
14165 Collections Center Dr                  Chicago, IL 60693-0001                          1713 Montaine Drive East
Chicago, IL 60693-0001                                                                       Golden, CO 80401-8095


Maryland Revenue Admin Div.                  Massachusetts Dept of Rev                       Mayflower Emerald Square LLC
Taxpayer Service Division                    PO Box 7089                                     Emerald Square
110 Carroll Street                           Boston, MA 02241-7001                           14190 Collections Center Dr
Annapolis, MD 21411-1000                                                                     Chicago, IL 60693-0001


Montgomery Mall Realty                       NC Read Beam LLC                                NCR Corporation
1010 Northern Blvd Suite 212                 c/o North Colony Asset Mgmt                     P.O. Box 198755
Great Neck, NY 11021-5320                    625 Mt. Auburn St.                              Atlanta, GA 30384-8755
                                             Cambridge, MA 02138-4555


New Century Assoc. Group                     New Century Assoc. Group, LP                    New Hampshire DRA
PO Box 62694                                 2010 County Line Road                           PO Box 1265
Baltimore, MD 21264-2684                     Huntingdon Valley, PA 19006-1739                Concord, NH 03302-1265



New Jersey Dept of Treasury                  Orange County Tax Collector                     Orange County Tax Collector
PO Box 002                                   PO Box 545100                                   301 S Robinson Avenue
Trenton, NJ 08625-0002                       Orlando FL 32854-5100                           Orlando, FL 32801
                               Case 6:22-bk-04313-GER         Doc 3         Filed 12/05/22   Page 8 of 9
PB Restaurants, LLC                           PHL Holdings, LLC                               PR Plymouth Meeting L.P.
11 West 42nd Street                           4700 Millenia Blvd., Ste 400                    PO Box 73312
Orlando, FL 32839                             Orlando, FL 32839-6020                          Cleveland, OH 44193-0002



PamJam Realty LLC                             Pennsylvania Dept of Revenue                    Reward Network
276 W. Main St., Suite 13A                    Strawberry Square                               540 W Madison St
Northborough, MA 01532-2387                   9th Floor                                       Suite 2400
                                              Harrisburg, PA 17128-0001                       Chicago, IL 60661-2562


Rhode Island Div of Taxation                  Route 140 School Street LLC                     STA Wite Inc
One Capitol Hill                              PO Box 847425                                   15 Garfield Ave.
Providence, RI 02908-5816                     Boston, MA 02284-7425                           Somerville, MA 02145-2104



SYSCO Corporation                             Snowden Holdings LLC                            Somerset Waltham LLC
1390 Enclave Parkway                          c/o Adam Schwartz                               465 Waverly Oaks Rd Ste 500
Houston, TX 77077-2099                        15942 Shady Grove Rd                            Waltham, MA 02452-8488
                                              Gaithersburg, MD 20877-1315


South Street Holdings LLC                     Springfield Square Cent LP                      Springfield Square Central
c/o The Grossman Companies                    c/o Continental Dev. LLC                        c/o Continental Developers
859 Willard St., Suite 501                    1604 Walnut St - 5th Floor                      1604 Walnut St - 5th Floor
Quincy, MA 02169-7469                         Philadelphia, PA 19103-5421                     Philadelphia, PA 19103-5421


St. John Properties, Inc - B                  Stonehill 123 LLC                               Thompson’s Restaurant, Inc
Accounts Receivable                           c/o GJS Management Corp                         PO Box 155
PO Box 62784                                  858 Washington St, Suite 309                    N. Andover, MA 01845-0155
Baltimore, MD 21264-2784                      Dedham, MA 02026-6021


TriMark United East                           US MJW East Gate I, LLC                         Virginia Taxation Dept.
PO Box 845377                                 c/o M&J Wilkow Properties                       Office of Customer Services
Boston, MA 02284-5377                         20 S. Clark St., Suite 3000                     PO Box 1115
                                              Chicago, IL 60603-1887                          Richmond, VA 23218-1115


WSM Hingham Properties LLC                    Westbrook Village Realty Tr.                    Wildwood Est. of Braintree
PO Box 3274                                   PO Box 67396                                    PO Box 859059
Boston, MA 02241-3274                         Chestnut Hill, MA 02467-0004                    Braintree, MA 02185-9059



Winkal Holdings, LLC                          R Scott Shuker +                                United States Trustee - ORL +
Attn: Tina Mihzir                             Shuker & Dorris, P.A.                           Office of the United States Trustee
10 Rye Ridge Plaza, Ste 200                   121 South Orange Avenue, Suite 1120             George C Young Federal Building
Rye Brook, NY 10573-2828                      Orlando, FL 32801-3238                          400 West Washington Street, Suite 1100
                                                                                              Orlando, FL 32801-2210

Note: Entries with a ’+’ at the end of the
name have an email address on file in CMECF
                               Case 6:22-bk-04313-GER                Doc 3         Filed 12/05/22      Page 9 of 9

                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


C.H. ROBINSON                                        Connecticut Dept of Revenue                          End of Label Matrix
Robinson Fresh                                       PO Box 5089                                          Mailable recipients   87
14701 Charlesto RD, Ste 1400                         Hartford, CT 06102                                   Bypassed recipients    0
Eden Prairie, MN 55347                                                                                    Total                 87
